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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division



  THE CITY OF NEW YORK; THE CITY OF
  PHILADELPHIA; and THE CITY AND
  COUNTY OF SAN FRANCISCO;
                                                               Civil Action No.: 1:17-cv-01464-
                         Plaintiffs,                           CMH-MSN
          v.

  THE UNITED STATES DEPARTMENT OF
  DEFENSE; et al.;

                         Defendants.


           PLAINTIFFS’ RENEWED MOTION FOR EXPEDITED DISCOVERY

        Plaintiffs the City of New York, the City of Philadelphia and the City and County of San

 Francisco (collectively, “Plaintiffs”), by and through their undersigned counsel, respectfully

 move this Court for the entry of an Order permitting them to conduct limited discovery in this

 matter, on an expedited basis, pursuant to Rule 26(d) of the Federal Rules of Civil Procedure and

 this Court’s Local Rules.

        Pursuant to Local Civil Rule 7(E), the attorneys for the parties met and conferred by

 telephone on March 9, 2018, in a good faith effort to narrow the areas of disagreement on this

 motion, but they have not been successful.

        For the reasons stated in the Memorandum of Law, Plaintiffs respectfully request that the

 Court enter the Proposed Order filed herewith, and grant such further relief as is just and proper.
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  March 12, 2018                    Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 12th day of March, 2018, I will electronically file the

 foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification

 of such filing (NEF) to the following:

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        And I hereby certify that I will cause the foregoing to be sent by certified U.S. mail and

 email to the following non-filing user:

                Daniel Halainen
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